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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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JOSE SANTOS, JR.,
COMPLAINT
WITH JURY DEMAND
Plaintiff,
-against- Civil Action No.: 1:22-cv-9553
CAMARAT ABDOULAYE, GHANA UN MISSION
and PERMANENT MISSION OF GHANA,
Defendants.
- ----X

 

Plaintiff, by his Attorneys DE MEO & ASSOCIATES, LLC, complaining of the
Defendants, respectfully sets forth and alleges as follows:
NATURE OF CASE

I. This is an action for personal injuries sustained by Plaintiff JOSE SANTOS, JR. and
arises from a pedestrian/motor vehicle accident that occurred on November 10, 2019 at
the intersection of Jerome Avenue and East Mount Eden Avenue in the County of the
Bronx, State of New York wherein Plaintiff JOSE SANTOS, JR. was a pedestrian
walking while crossing a street and was struck by a motor vehicle.

PARTIES

2. At the time of the accident Plaintiff JOSE SANTOS, JR. was a resident of the County of
Kings, State of New York.

3. At the time of commencement of this action, Plaintiff JOSE SANTOS, JR. was a resident

of the County of Kings, State of New York.

4. That on or about November 10, 2019, and at all times hereinafter mentioned, upon
information and belief, Defendant CAMARAT ABDOULAYE was a resident of the
County of Bronx, City and State of New York.

 
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That at the time of commencement of this action, and at all times hereinafter mentioned,
upon information and belief, Defendant CAMARAT ABDOULAYE was/is a resident of
the County of Bronx, City and State of New York.

. That on or about November 10, 2019, and at all times hereinafter mentioned, upon

information and belief, Defendant GHANA UN MISSION was a resident of the County
of New York, City and State of New York as its principal place of operation/business was
19 East 47" Street New York, N.Y. 10017

That at the time of commencement of this action, and at all times hereinafter mentioned,
upon information and belief, Defendant GHANA UN MISSION was/is a resident of the
County of New York, City and State of New York as its principal place of
operation/business was/is 19 East 47" Street New York, N.Y. 10017.

That on or about November 10, 2019, and at all times hereinafter mentioned, upon
information and belief, Defendant GHANA UN MISSION was a domestic
corporation/entity and was operating, conducting business and/or duly organized and
existing in the State of New York under and by virtue of the laws and/or authority of the
State of New York.

That at the time of commencement of this action, and at all times hereinafter mentioned,
upon information and belief, Defendant GUANA UN MISSION was/is a domestic
corporation/entity and was operating, conducting business and/or duly organized and
existing in the State of New York under and by virtue of the laws and/or authority of the
State of New York.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
GHANA UN MISSION was/is a foreign corporation/entity and was operating,
conducting business and/or duly organized and existing in the State of New York under

and by virtue of the laws and/or authority of the State of New York.

. That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
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GHANA UN MISSION and/or its/their agents, assignees, employees, members,
diplomats, family members of members, staff, officers, executives, directors,
commissioners, supervisors, consul, vice consul, deputies, administrators,
superintendents, principals, servants, licensors, licensees, contractors, contractees,
subcontractors, subcontractees, renters, rentees, lessors, lessees, representatives,
personnel, boards, offices, departments, commissions, committees, divisions, units,
bureaus, subsidiaries, federations and/or affiliates (hereinafter collectively “GHANA UN

MISSION”) transacted business within the State of New York.

. That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
GHANA UN MISSION contracted anywhere to supply goeds or services in the State of
New York.

That on or about Novernber 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
GHANA UN MISSION committed a tortious act within the State of New York.

That on or about Novernber 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
GHANA UN MISSION committed a tortious act without the State of New York causing
personal injury to Plaintiff JOSE SANTOS, JR. within the State and expected or
reasonably should have expected the act to have consequences in the State of New York
and derived substantial revenue from interstate or international commerce.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
GHANA UN MISSION committed a tortious act without the State of New York causing
personal injury to Plaintiff JOSE SANTOS, JR. within the State and regularly did or
solicited business, or engaged in persistent course of conduct, or derived substantial

revenue from goods used or consumed or services rendered in the State of New York.

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That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
GHANA UN MISSION owned, used or possessed real property situated within the State
of New York.

That on or about November 10, 2019, and at all times hereinafter mentioned, upon
information and belief, Defendant PERMANENT MISSION OF GHANA was a resident
of the County of New York, City and State of New York as its principal place of
operation/business was 19 East 47" Street New York, N.Y. 10017

That at the time of commencement of this action, and at all times hereinafter mentioned,
upon information and belief, Defendant PERMANENT MISSION OF GHANA was/is a
resident of the County of New York, City and State of New York as its principal place of
operation/business was/is 19 East 47" Street New York, N.Y. 10017.

That on or about November 10, 2019, and at all times hereinafter mentioned, upon
information and belief, Defendant PERMANENT MISSION OF GHANA was a
domestic corporation/entity and was operating, conducting business and/or duly
organized and existing in the State of New Yerk under and by virtue of the laws and/or
authority of the State of New York.

That at the time of commencement of this action, and at all times hereinafter mentioned,
upon information and belief, Defendant PERMANENT MISSION OF GHANA was/is a
domestic corporation/entity and was operating, conducting business and/or duly
organized and existing in the State of New York under and by virtue of the laws and/or
authority of the State of New York.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
PERMANENT MISSION OF GHANA was/is a foreign corporation/entity and was
operating, conducting business and/or duly organized and existing in the State of New

York under and by virtue of the laws and/or authority of the State of New York.

 
 

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That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
PERMANENT MISSION OF GHANA and/or its/their agents, assignees, employees,
members, diplomats, family members of members, staff, officers, executives, directors,
commissioners, supervisors, consul, vice consul, deputies, administrators,
superintendents, principals, servants, licensors, licensees, contractors, contractees,
subcontractors, subcontractees, renters, rentees, lessors, lessees, representatives,
personnel, boards, offices, departments, commissions, committees, divisions, units,
bureaus, subsidiaries, federations and/or affiliates (hereinafter collectively
“PERMANENT MISSION OF GHANA”) transacted business within the State of New
York.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
PERMANENT MISSION OF GHANA contracted anywhere to supply goods or services
in the State of New York.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
PERMANENT MISSION OF GHANA committed a tortious act within the State of New
York.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
PERMANENT MISSION OF GHANA committed a tortious act without the State of
New York causing personal injury to Plaintiff JOSE SANTOS, JR. within the State and
expected or reasonably should have expected the act to have consequences in the State of
New York and derived substantial revenue from interstate or international commerce.
That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant

PERMANENT MISSION OF GHANA committed a tortious act without the State of
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New York causing personal injury to Plaintiff JOSE SANTOS, JR. within the State and
regularly did or solicited business, or engaged in persistent course of conduct, or derived

substantial revenue from goods used or consumed or services rendered in the State of
New York.

That on or about November 10, 2019 and at the time of commencement of this

action, and at all times hereinafter mentioned, upon information and belief, Defendant
PERMANENT MISSION OF GHANA owned, used or possessed real property situated

within the State of New York.
JURY DEMAND
Plaintiff demands a trial by jury on all issues of fact and damages stated herein.
JURISDICTION — Federal Question
The Court has Federal Question Jurisdiction pursuant to the provisions of 28 U.S.C. $1331,
§1351 and §1605.
JURISDICTION — Supplemental
Although claims arising under United States of America government issued law are
interposed herein, there may be claims asserted pursuant to state law and/or local law that
are related to claims in this action and that form part of the same case or controversy
under the United State Constitution. As per 28 U.S.C. § 1367, this Honorable Court has
supplemental jurisdiction over such other related claims.
VENUE
Venue is proper in this District pursuant to 28 U.S.C. §1391(b), (c) and (f).

FACTS
That on or about November 10, 2019, and prior thereto, and at all times
hereinafter mentioned, Defendant CAMARAT ABDOULAYE was the owner

and/or registered owner of a 2018 Toyota motor vehicle bearing United States of
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America government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE operated and/or was the operator of a

2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE operated and/or was the operator of a

2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD with the permission, consent and/or

knowledge of Defendant GHANA UN MISSION as owner of said motor vehicle.

. That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE operated and/or was the operator of a

2018 ‘Foyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD with the permission, consent and/or
knowledge of Defendant PERMANENT MISSION OF GHANA as owner of said motor
vehicle.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant CAMARAT ABDOULAYE maintained and/or was
responsible for maintaining and/or the maintenance to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at ali times

hereinafter mentioned, Defendant CAMARAT ABDOULAYE controlled and/or

was responsible for controlling and/or the control to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate

number 009STVD.

 
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That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant CAMARAT ABDOULAYE managed and/or

was responsible for managing and/or the management to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE used, occupied and/or possessed and/or

was using, in possession of and/or in occupancy of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant CAMARAT ABDOULAYE inspected and/or was
responsible for inspection and/or the inspections to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant CAMARAT ABDOULAYE repaired and/or

was responsible for repairing and/or the repairs to/of'a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0O095TVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant CAMARAT ABDOULAYE supervised and/or was
responsible for supervising and/or the supervision to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 009S5TVD, inclusive of the ownership, operation, maintenance, management,
control, use, possession, occupancy, contracting, subcontracting, leasing, renting,

entrustment, repair and/or inspection to/of said motor vehicle.

 
 

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. That on or about November 10, 2019, and at all times hereinafter mentioned,

there was a lease agreement and/or rental agreement and/or contract that was in existence
and/or in effect pertaining to a 2018 Toyota motor vehicle bearing United States of
America government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE was a party to a lease agreement and/or rental
agreement and/or contract that was in existence and/or in effect pertaining to a 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE was the lessor of a 2018 Toyota motor

vehicle bearing United States of America government issued registration
number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE was the lessee of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0O095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE was the renter of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE was the rentee of a 2018 Toyota motor
vehicle bearing United States of America government issued registration
number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE was the contractor of/for a 2018 Toyota

motor vehicle bearing United States of America government issued registration
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number/license plate number 009S5TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was the contractee of/for a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license

plate number 0095TVD.

. That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was the subcontractor of/for a 2018 Toyota
motor vehicle bearing United States of America government issued registration

number/license plate number 0095TVD.

. That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was the subcontractee of/for a 2018 Toyota
motor vehicle bearing United States of America government issued registration
number/license plate number 009S5TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
OO9STYVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
009S5TVD to Defendant GHANA UN MISSION.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant CAMARAT ABDOULAYE entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD to Defendant PERMANENT MISSION OF GHANA.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant GHANA UN MISSION was the owner

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and/or registered owner of a 2018 Toyota motor vehicle bearing United States of
America government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Detendant GHANA UN MISSION operated and/or was the operator of a

2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant GHANA UN MISSION operated and/or was the operator of a

2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD with the permission, consent and/or
knowledge of Defendant CAMARAT ABDOULAYE as owner of said motor vehicle.
That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant GHANA UN MISSION operated and/or was the operator of a

2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD with the permission, consent and/or
knowledge of Defendant PERMANENT MISSION OF GHANA as owner of said motor
vehicle.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant GHANA UN MISSION tnaintained and/or was
responsible for maintaining and/or the maintenance to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant GHANA UN MISSION controlled and/or

was responsible for controlling and/or the control to/of a 2018 Toyota motor vehicle

bearing United States of America government issued registration number/license plate

number 0O9STVD.

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62. That on or about November 10, 2019, and prior thereto, and at all times
hereinafter mentioned, Defendant GHANA UN MISSION managed and/or
was responsible for managing and/or the management to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

63. That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION used, occupied and/or possessed and/or
was using, in possession of and/or in occupancy of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

64. That on or about November 10, 2019, and prior thereto, and at all times
hereinafter mentioned, Defendant GHANA UN MISSION inspected and/or was
responsible for inspection and/or the inspections to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

65. That on or about November 10, 2019, and prior thereto, and at all times
hereinafter mentioned, Defendant GHANA UN MISSION repaired and/or
was responsible for repairing and/or the repairs to/of a 201 § Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

66. That on or about November 10, 2019, and prior thereto, and at all times
hereinafter mentioned, Defendant GHANA UN MISSION supervised and/or was
responsible for supervising and/or the supervision to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD, inclusive of the ownership, operation, maintenance, management,
control, use, possession, occupancy, contracting, subcontracting, leasing, renting,

entrustment, repair and/or inspection to/of said motor vehicle.

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That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was a party to a lease agreement and/or rental
agreement and/or contract that was in existence and/or in effect pertaining to a 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the lessor of a 2018 Toyota motor

vehicle bearing United States of America government issued registration
number/license plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the lessee of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the renter of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the rentee of a 2018 Toyota motor

vehicle bearing United States of America government issued registration
number/license plate number GO9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the contractor of/for a 2018 Toyota

motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the contractee of/for a 2018 Toyota motor

vehicle bearing United States of America government issued registration number/license
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plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION was the subcontractor of/for a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHLANA UN MISSION was the subcontractee of/for a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD,

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0O95TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
009STVD to Defendant CAMARAT ABDOULA YE,

That on or about November 10, 2019, and at all times hereinafter mentioned,
Defendant GHANA UN MISSION entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD to Defendant PERMANENT MISSION OF GI IANA.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA

was the owner and/or registered owner of a 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number

0O9STVD.

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That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA operated and/or was the operator ofa
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0O9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA operated and/or was the operator of a
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD with the permission, consent and/or
knowledge of Defendant COAMARAT ABDOULAYE as owner of said motor vehicle.
That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA operated and/or was the operator of a
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD with the permission, consent and/or
knowledge of Defendant GHANA UN MISSION as owner of said motor vehicle.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA maintained
and/or was responsible for maintaining and/or the maintenance to/of a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA controlled
and/or was responsible for controlling and/or the control to/of a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 009STVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA managed
and/or was responsible for managing and/or the management to/of a 2018 Toyota motor

vehicle bearing United States of America government issued registration number/license
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plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA used, occupied and/or possessed
and/or was using, in possession of and/or in occupancy of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.,

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA inspected
and/or was responsible for inspection and/or the inspections to/of a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number OO9STVD.

That on or about November 10, 2019, and prior thereto, and at all times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA repaired and/or
was responsible for repairing and/or the repairs to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at ali times

hereinafter mentioned, Defendant PERMANENT MISSION OF GHANA supervised
and/or was responsible for supervising and/or the supervision to/of a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 009S5TVD, inclusive of the ownership, operation, maintenance,
management, control, use, possession, occupancy, contracting, subcontracting, leasing,
renting, entrustment, repair and/or inspection to/of said motor vehicle.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was a party to a lease agreement
and/or rental agreement and/or contract that was in existence and/or in effect pertaining

to a 2018 Toyota motor vehicle bearing United States of America government issued

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registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the lessor of a 201 8 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the lessee ofa 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the renter of a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the rentee of a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 009S5TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the contractor of/for a

2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number OO9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the contractee offfor a 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the subcontractor of/for a 2018

Toyota motor vehicle bearing United States of America government issued registration
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number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was the subcontractee of/for a 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA entrusted a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHAN A entrusted a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD to Defendant CAMARAT ABDOULAYE.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA entrusted a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD to Defendant GHANA UN MISSION.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant GHANA UN MISSION was a mission to the United Nations with a
headquarters location of 19 E. 47" Street New York, N.Y. 10017.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant GHANA UN MISSION was a mission, political subdivision, agency and/or
instrumentality of the Country of Ghana.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was a mission to the United Nations
with a headquarters location of 19 E. 47% Street New York, N.Y. 10017.

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That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant PERMANENT MISSION OF GHANA was a mission, political subdivision,
agency and/or instrumentality of the Country of Ghana.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was a diplomat, member of, a family member of
a member of and/or a member of the diplomatic, administrative, technical and/or service
staff of Defendant GHANA UN MISSION.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was a diplomat, member of, a family member of
a member of and/or a member of the diplomatic, administrative, technical and/or service
staff of Defendant PERMANENT MISSION OF GHANA.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was an agent, assignee, employee, officer,
executive, director, commissioner, supervisor, deputy, administrator, superintendent,
principal, servant, licensor, licensee, contractor, contractee, subcontractor, subcontractee,
renter, rentee, lessor, lessee, representative, personne! and/or official of Defendant
GHANA UN MISSION.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was an agent, assignee, employee, officer,
executive, director, commissioner, supervisor, deputy, administrator, superintendent,
principal, servant, licensor, licensee, contractor, contractee, subcontractor, subcontractee,
renter, rentee, lessor, lessee, representative, personnel and/or official of Defendant
PERMANENT MISSION OF GHANA.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULAYE was in the course and/or scope of his office,
employment and/or duties with Defendant GHANA UN MISSION.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Defendant CAMARAT ABDOULA YE was in the course and/or scope of his office,
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employment and/or duties with Defendant PERMANENT MISSION OF GHANA.
That on or about November 10, 2019, and at all times hereinafter mentioned, the
roadways, streets, thoroughfares, parkways and/or highways comprising the
intersection of Jerome Avenue at and/or near East Mount Eden Avenue in the County of
Bronx, State of New York, were, and still are, public roadways, streets, thoroughfares,
parkways and/or highways in the State of New York used extensively by the public in
general.

That on or about November 10, 2019, and at all times hereinafter mentioned,
Plaintiff JOSE SANTOS, JR. was a lawful pedestrian at the intersection of Jerome
Avenue and East Mount Eden Avenue in the County of Bronx, State of New

York.

That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 009S5TVD being owned and operated by
Defendant CAMARAT ABDOULAYE.

That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned by Defendant
CAMARAT ABDOULAYE and operated by Defendant GHANA UN MISSION.
That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned by Defendant
CAMARAT ABDOULAYE and operated by Defendant PERMANENT MISSION OF
GHANA.

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117. That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned and operated by
Defendant GUANA UN MISSION.
11. That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned by Defendant GHANA
UN MISSION and operated by Defendant CAMARAT ABDOULAYE.
119. That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned by Defendant GI LANA
UN MISSION and operated by Defendant PERMANENT MISSION OF GHANA.
120. That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned and operated by
Defendant PERMANENT MISSION OF GHANA.
121. That on or about November 10, 2019, and at all times hereinafter mentioned, there
was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD being owned by Defendant
PERMANENT MISSION OF GHANA and operated by Defendant CAMARAT
ABDOULAYE. ~
122. That on or about November 10, 2019, and at all times hereinafter mentioned, there

was contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the
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2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 009S5TVD being owned by Defendant
PERMANENT MISSION OF GHANA and operated by Defendant GHANA UN
MISSION.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United
States of America government Issued registration number/license plate number 0095TVD
being operated and owned by Defendant CAMARAT ABDOULAYE which was
attempting to make/in the process of making a left tum from Jerome Avenue onto East
Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United
States of America government issued registration number/license plate number 0095TVD
being owned by Defendant CAMARAT ABDOULAYE and operated by Defendant
GHANA UN MISSION which was attempting to make/in the process of making a left
turn from Jerome Avenue onto East Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

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States of America government issued registration number/license plate number 009STVD
being owned by Defendant CAMARAT ABDOULAYE and operated by Defendant
PERMANENT MISSION OF GHANA which was attempting to make/in the process of
making a left turn from Jerome Avenue onto East Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number 0095TVD
being owned and operated by Defendant GHANA UN MISSION which was attempting
to make/in the process of making a left turn from Jerome Avenue onto East Mount Eden
Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number 0095TVD
being owned by Defendant GHANA UN MISSION and operated by Defendant
CAMARAT ABDOULAYE which was attempting to make/in the process of making a
left turn from Jerome Avenue onto East Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number 0095TVD
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being owned by Defendant GHANA UN MISSION and operated by Defendant
PERMANENT MISSION OF GHANA which was attempting to make/in the process of
making a left turn from Jerome Avenue onto East Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number 0095TVD
being owned and operated by Defendant PERMANENT MISSION OF GHANA which
was attempting to make/in the process of making a left turn from Jerome Avenue onto
East Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number 0095TVD
being owned by Defendant PERMANENT MISSION OF GHANA and operated by
Defendant CAMARAT ABDOULAYE which was attempting to make/in the process of
making a left turn from Jerome Avenue onto East Mount Eden Avenue.

That on or about November 10, 2019, and at all times hereinafter mentioned,

Plaintiff JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk

and attempting to cross/in the process of crossing a street at the intersection of

Jerome Avenue and East Mount Eden Avenue in the County of Bronx, State of

New York when he was struck by the 2018 Toyota motor vehicle bearing United

States of America government issued registration number/license plate number

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009STVD being owned by Defendant PERMANENT MISSION OF GHANA and
operated by Defendant GHANA UN MISSION which was attempting to make/in the

process of making a left turn from Jerome Avenue onto East Mount Eden Avenue.

. That the aforesaid occurrence was due to the wrongful, negligent, grossly negligent,

careless, reckless, grossly reckless, unlawful and/or culpable conduct, acts and/or
omissions of Defendants, either jointly and/or severally, and/or any of their members,
agents, servants, employees, licensees, officers, offices, directors, administrators,
commissioners, executives, departments, commissions, committees, divisions,
subsidiaries, affiliates, agencies, representatives, contractors, subcontractors, personnel,
lessors, lessees, renters, rentees and/or principals, either jointly and/or severally, in the
ownership, operation, maintenance, use, management, possession, occupancy, leasing,
contracting, subcontracting, renting, supervision, repair, inspection, entrustment and/or
control of the 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0O9S5TVD, and were further wrongful,
negligent, grossly negligent, careless, reckless, grossly reckless, unlawful and/or
culpable, either jointly and/or severally, inter alia in the following manner: in failing to
and/or failing to properly, adequately, sufficiently, prudently, safely, lawfully and/or
reasonably own, operate, maintain, manage, control, supervise, use, possess, occupy,
contract, subcontract, lease, rent, entrust, repair and/or inspect their motor vehicle; in
failing to and/or failing to properly, adequately, sufficiently, prudently, safely, lawfully
and/or reasonably teach, train and/or instruct on the ownership, operation,
maintaining/maintenance, managing/management, control, supervision, use, possession,
occupancy, contracting, subcontracting, leasing, renting, repair, entrustment and/or
inspection offto their motor vehicle; in failing to and/or failing to properly, adequately,
sufficiently, prudently, safely, lawfully and/or reasonably exercise due care and caution
in the ownership, operation, maintenance, use, management, possession, occupancy,

leasing, contracting, subcontracting, renting, supervision, repair, inspection, entrustment

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and/or control to/of their motor vehicle; in failing to and/or failing to properly,
adequately, sufficiently, lawfully, prudently, safely and/or reasonably have, keep and/or
maintain their motor vehicle under control; in their motor vehicle traveling/proceeding at
an excessive, dangerous, hazardous, improper, imprudent, unlawful, unreasonable and/or
unsafe rate of speed; in failing to stop at, yield to, abide by, adhere to, comply with
and/or obey a traffic and/or speed control device, light, sign and/or signal; in failing to
properly, adequately, sufficiently, safely, prudently, lawfully and/or reasonably
make/attempt to make/proceed to make a left turn; in failing to and/or failing to properly,
adequately, sufficiently, safely, prudently, lawfully and/or reasonably use/operate/utilize
the left turn directional signal/blinker signal and/or hand signal; in failing to and/or
failing to properly, adequately, sufficiently, prudently, safely, lawfully and/or reasonably
stop at, yield to, abide by, adhere to, comply with and/or obey a pedestrian control
device/light/signal; in failing to stop at, yield to, abide by, adhere to, comply with and/or
obey a lane and/or road marking and/or a lane and/or road traffic and/or speed marking,
inclusive of a crosswalk; in their motor vehicle being operated dangerously, hazardously,
improperly, imprudently, insufficiently, unlawfully, inadequately, unreasonably and/or
unsafely given the road, pedestrian, traffic, weather and/or driving conditions then and
there existing at the accident location and/or under the circumstances then and there
prevailing at the accident location and at the time of the accident; in failing to and/or
failing to properly, adequately, sufficiently, prudently, lawfully, safely and/or reasonably
observe and see what there was to observe and see; in failing to and/or failing to maintain
a propet, sufficient, adequate, lawful, prudent, safe and/or reasonable maintain a lookout;
in failing to and/or failing to properly, sufficiently, adequately, lawfully, prudently, safely
and/or reasonably look forward, behind, right and/or left; in failing to and/or failing to
properly, sufficiently, adequately, lawfully, prudently, safely and/or reasonably use/view
the rearview and/or sideview mirrors; in failing to have rearview and/or sideview mirrors
equipped on their motor vehicle; in failing to have any rearview and/or sideview mirrors

properly, sufficiently, adequately, lawfully, prudently, safely and/or reasonably
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positioned and/or tilted on their motor vehicle; in failing and/or failing to properly,
sufficiently, adequately, prudently, safely, lawfully and/or reasonably heed warnings; in
failing to and/or failing to properly, sufficiently, lawfully, adequately, safely, reasonably
and/or prudently warn, sound a horn or other signaling or warning devices; in failing
and/or failing to properly, sufficiently, adequately, prudently, safely, lawfully and/or
reasonably have a horn of the motor vehicle operational; in failing to and/or failing to
timely, properly, adequately, sufficiently, lawfully, safely, prudently and/or reasonably
change speed and/or direction of his motor vehicle; in failing to and/or failing to timely,
properly, adequately, sufficiently, safely, lawfully, prudently and/or reasonably brake,
steer, swerve, or use and/or engage in other operating measures to avoid the accident; in
failing to apply the brakes or any braking mechanism and/or failing to apply the brakes or
any braking mechanism in a timely, proper, adequate, sufficient, safe, lawful, prudent
and/or reasonable manner; in failing to have the brakes and/or any braking mechanism be
in working order and/or in proper, safe, sufficient, adequate, lawful, prudent and/or
reasonable working order; in failing to steer his motor vehicle and/or failing to steer their
motor vehicle in a proper, adequate, sufficient, safe, prudent, lawful and/or reasonable
manner; in failing to have the steering and/or any steering mechanism be in working
order and/or in proper, sufficient, adequate, safe, prudent, lawful and/or reasonable
working order; in failing to have hands on the steering wheel and/or properly placed
and/or positioned on the steering wheel; in failing to and/or failing to properly,
adequately, sufficiently, safely, prudently, lawfully and/or reasonably own,

operate, maintain, use, manage, possess, occupy, lease, rent, contract, subcontract,
supervise, repair, inspect, entrust and/or control their motor vehicle, inclusive of not
doing so in accordance with the applicable rules, codes, laws, guidelines, regulations,
surveys, evaluations, standards, statutes, ordinances and vehicle and traffic laws of the
County of Bronx, City and State of New York and/or the Federal Government of which

the Court will take Judicial Notice; in violating, breaching, neglecting, disregarding

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and/or failing to abide by, adhere to, carry out and/or comply with the applicable rules,
codes, laws, guidelines, regulations, surveys, evaluations, standards, statutes, ordinances,
and vehicle and traffic laws of the County of Bronx, City and State of New York and/or
the Federal Government of which the Court will take Judicial Notice, including, but not
limited to the following: New York State Motor Vehicle and Traffic

Law sections 300, 301, 301-a, 307, 312, 335, 355, 375, 376, 376-a, 382, 382-a, 382-

b, 385, 386, 388, 390, 401, 501, 501-b, 502, 503, 503-a, 504, 507, 511, 511-a, 512, 1100,
1101, 1110, 1111, 111 1-a, 1112, 1113, 1116, 1120, 1125, 1128, 1129, 1130, 1141, 1142,
1143, 1146, 1150, 1151, 1160, 1161, 1162, 1163, 1164, 1165, 1166, 1172, 1180, 1180-a,
1192, 1192-a, 1194-a, 1200, 1201, 1202, 1212, 1213, 1225, 1225-c, 1226, 1227; in failing
to exercise proper, sufficient, adequate, prudent, safe, lawful and/or reasonable care,
prudence and caution upon approaching Plaintiff; in failing to avoid contact with
Plaintiff; in coming into contact with Plaintiff, in failing to take and/or failing to take
necessary, proper, sufficient, adequate, safe, lawful, prudent and/or reasonable steps,
means, measures and/or precautions to avoid and guard against the happening of the
accident; in their motor vehicle not being operated as a reasonably prudent person would
under the circumstances then and there existing at the accident location: in failing to
and/or failing to properly, adequately, sufficiently, lawfully, prudently, safely and/or
reasonably slow down and/or stop their motor vehicle; in their motor vehicle following
and/or being too close and/or more close to Plaintiff than reasonable and prudent under
the circumstances then and there prevailing at the accident location; in their motor
vehicle being operated by an individual impaired by alcohol; in the operator of their
motor vehicle using a mobile telephone while operating their motor vehicle; in failing to
and/or failing to properly, sufficiently, adequately, prudently, lawfully, safely and/or
reasonably yield the right of way to Plaintiff; in their motor vehicle being operated with
reckless disregard as to pedestrians; in failing to and/or failing to properly, sufficiently,
adequately, prudently, safely, lawfully and/or reasonably conduct

inspections/repairs/maintenance and/or routine
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inspections/repairs/maintenance to/of their motor vehicle and/or any equipment thereon;
in operating his motor vehicle in a manner which unreasonably interfered with the free
and proper use of the roadway by pedestrians and/or which endangered pedestrians; in
failing to and/or failing to properly, sufficiently, adequately, lawfully, prudently, safely
and/or reasonably anticipate, prevent and otherwise avoid the accident; in allowing,
permitting, causing and/or creating the accident to occur; in failing to and/or failing to
properly, sufficiently, adequately, lawfully, prudently, safely and/or reasonably operate
their motor vehicle with due regard for the safety of pedestrians; in their motor vehicle
being operated by an individual who was and/or known to be an incompetent and/or
inexperienced driver; in entrusting their motor vehicle to an individual who was and/or
known to be an incompetent and/or inexperienced driver; in their motor vehicle being
operated when it was in and/or known to be in improper working order; in entrusting
their motor vehicle to an individual when it was and/or known to be in improper working
order; in failing to have and/or failing to have a proper, sufficient, adequate, prudent,
lawful, safe and/or reasonable maintenance, inspection and/or repair
plan/schedule/procedures/process/guidelines/measures/rules in place in regards to the
equipment and/or operation of their motor vehicle; in
violating/breaching/neglecting/disregarding/failing to adhere to, comply with, abide by,
carry out any maintenance, inspection and/or repair
plan/schedule/procedures/process/guidelines/measures/rules in place in regards to the
equipment and/or operation of their motor vehicle; in failing to and/or failing to properly,
sufficiently, adequately, prudently, safely, lawfully and/or reasonably have the headlights
on, operational and/or in use for their motor vehicle; in their motor vehicle being moved
from the stopped, standing and/or parked position when it was not reasonably safe to do
so; in otherwise being wrongful, negligent, grossly negligent, careless, reckless, in
reckless disregard, grossly reckless, unlawful and/or culpable conduct in the ownership,

operation, maintenance, use, management, possession, occupancy, leasing, renting,

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contracting, subcontracting, supervision, repair, inspection, entrustment and/or control of
their motor vehicle:

133.That as a result of the aforesaid accident, Plaintiff JOSE SANTOS, JR. sustained bodily,
mental, emotional and/or psychological injury, inclusive of a fracture to the third proximal
phalanx, laceration to the head and seizures.

134. That on or about November 10, 2019, and at all times hereinafter mentioned, the
Defendants, either jointly and/or severally, had the duty, obligation and/or responsibility
to own, operate, maintain, use, inanage, possess, occupy, lease, contract, subcontract,
rent, supervise, repair, inspect, entrust and/or control their motor vehicle, and to do so in
a reasonable, proper, safe, lawful, sufficient, adequate and/or prudent manner.

135. That on or about November 10, 2019, and at all times hereinafter mentioned, the
Defendants, either jointly and/or severally, breached, disregarded, neglected,
violated and/or failed in their duty, obligation and/or responsibility to own, operate,
maintain, use, manage, Possess, occupy, lease, contract, subcontract, rent, supervise,
repair, inspect, entrust and/or control their motor vehicle in a reasonable, proper, safe,
lawful, sufficient, adequate and/or prudent manner,

136, That the aforesaid accident and injuries and/or damages resulting thereftom to the
Plaintiff JOSE SANTOS, JR. were caused and/or due wholly and/or solely as a result of
the wrongful, negligent, grossly negligent, careless, in reckless disregard, reckless,
grossly reckless, unlawful and/or culpable conduct of the Defendants, either jointly
and/or severally, in the ownership, operation, maintenance, use, management, possession,
occupancy, leasing, contracting, subcontracting, renting, supervision, repair, inspection,
entrustment and/or control of their motor vehicle, without this Plaintiff in any way
contributing thereto.

137. Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,
grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein

established against Defendant CAMARAT ABDOULAYE as operator of the 2018

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Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 0O95TVD is alleged to be imputed by operation of law to
Defendant GHANA UN MISSION as owner of said motor vehicle under the theory of
vicarious liability and/or respondeat supericr.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein
established against Defendant CAMARAT ABDOULAYE as operator of the 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD is alleged to be imputed by operation of law to
Defendant PERMANENT MISSION OF GHANA as owner of said motor vehicle under
the theory of vicarious liability and/or respondeat superior.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein
established against Defendant GHANA UN MISSION as operator of the 2018 Toyota
motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD is alleged to be imputed by operation of law to
Defendant CAMARAT ABDOULAYE as owner of said motor vehicle under the theory
of vicarious liability and/or respondeat superior.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein
established against Defendant GHANA UN MISSION as operator of the 2018 Toyota
motor vehicle bearing United States of America government issued registration
number/license plate number 0095TVD is alleged to be imputed by operation of law to
Defendant PERMANENT MISSION OF GHANA as owner of said motor vehicle under
the theory of vicarious liability and/or respondeat superior.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein

established against Defendant PERMANENT MISSION OF GHANA as operator of the
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2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD is alleged to be imputed by operation
of law to Defendant CAMARAT ABDOULAYE as owner of said motor vehicle under
the theory of vicarious liability and/or respondeat superior.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein
established against Defendant PERMANENT MISSION OF GHANA operator of the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD is alleged to be imputed by operation
of law to Defendant GHANA UN MISSION as owner of said motor vehicle under the
theory of vicarious liability and/or respondeat superior.

That Defendant CAMARAT ABDOULAYE is subject to jurisdiction and/or

liability for the aforesaid accident and/or wrongful, negligent, grossly negligent,
careless, reckless, grossly reckless, in reckless disregard, unlawful and/or culpable
conduct and the injuries and/or damages resulting therefrom to the Plaintiff JOSE
SANTOS, JR. as per 28 U.S.C, §1351 and §1605.

That Defendant GUANA UN MISSION is subject to jurisdiction and/or

liability for the aforesaid accident and/or wrongful, negligent, grossly negligent,
careless, reckless, grossly reckless, in reckless disregard, unlawful and/or culpable
conduct and the injuries and/or damages resulting therefrom to the Plaintiff JOSE
SANTOS, JR. as per 28 U.S.C. §1605.

That Defendant PERMANENT MISSION OF GHANA is subject to jurisdiction
and/or lability for the aforesaid accident and/or wrongful, negligent, grossly negligent,
careless, reckless, grossly reckless, in reckless disregard, unlawful and/or culpable
conduct and the injuries and/or damages resulting therefrom to the Plaintiff JOSE

SANTOS, JR. as per 28 U.S.C. §1605.

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That no negligence and/or conduct on the part of the Plaintiffs contributed to the accident
herein in any manner whatsoever.

That the wrongful, negligent, grossly negligent, careless, in reckless disregard, reckless,
grossly reckless, unlawful and/or culpable conduct of the Defendants, either jointly
and/or severally. was/were the/a proximate cause of the accident and/or injuries and/or
damages resulting therefrom to Plaintiff,

That the aforesaid accident and injuries and/or damages resulting therefrom to

Plaintiff and/or the wrongful, negligent, grossly negligent, careless, in

reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of

the Defendants, either jointly and/or severally, was/were foreseeable.

Plaintiff JOSE SANTOS, JR. is a “covered person" as defined by Section 5102(j) of

the Insurance Law of the State of New York.

That by reason of the foregoing and the wrongful, negligent, grossly negligent, careless,
in reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of the
Defendants, either jointly and/or severally, Plaintiff JOSE SANTOS, JR. sustained
serious injuries as defined in Subsection (d) of Section 5102 of the Insurance Law of the
State of New York, and has sustained serious injury and economic loss greater than basic
economic loss as defined in Subsection (a) of Section 5104 of the Insurance Law.

That by reason of the foregoing and the wrongful, negligent, grossly negligent, careless,
in reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of the
Defendants, either jointly and/or severally, Plaintiff JOSE SANTOS, JR. sustained
serious, severe and permanent bodily, mental and/or emotional injuries and still suffers
and will continue to suffer great physical, mental and emotional pain and serious bodily
injury.

That by reason of the foregoing and the wrongful, negligent, grossly negligent, careless,
in reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of the

Defendants, either jointly and/or severally, Plaintiff JOSE SANTOS, JR. became sick,

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sore, lame and disabled and so remains and will continue to remain so.

That by reason of the foregoing and the wrongful, negligent, grossly negligent, careless,
in reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of the
Defendants, either jointly and/or severally, Plaintiff JOSE SANTOS, JR.’s bodily, mental
and/or emotional injuries are permanent and she will permanently suffer from the
physical, mental and emotional effects of the aforesaid injuries and he will be caused to
suffer permanent embarrassment and continuous pain and suffering.

That by reason of the foregoing and the wrongful, negligent, grossly negligent, careless,
in reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of the
Defendants, either jointly and/or severally, Plaintiff JOSE SANTOS, JR. was compelled
and/or obliged and did necessarily require medical aid and attention and did necessarily
pay, incur and become liable therefore.

That by reason of the foregoing and the wrongful, negligent, grossly negligent, careless,
in reckless disregard, reckless, grossly reckless, unlawful and/or culpable conduct of the
Defendants, either jointly and/or severally, Plaintiff JOSE SANTOS, JR. was, has been
and will continue to be, unable to attend to his usual and/or normal daily activities,
routine, occupation, vocation, duties and affairs in the manner required.

That the limitations of CPLR Section 1601 do not apply to this action.

That this action falls within one or more of the exceptions set forth in CPLR Section

1602, to wit, the limitations set forth in CPLR 1601 regarding limited liability of persons
or entities jointly liable, limiting their responsibilities for non-economic damages to the
amount of their equitable share of liability to 50% or less, does not apply in this case
since, under CPLR 1602 (6), this limitation is inapplicable to any persons held liable by
reason of his use, operation, or ownership of a motor vehicle or motorcycle, as those
terms are defined respectively in Sections 311 and 125 of the New York State Vehicle

and Traffic Law.

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158. Plaintiff JOSE SANTOS, JR. was damaged in a sum which exceeds the jurisdictional

limits of all lower courts, together with interest, costs, and disbursements in this action.

WHEREFORE, Plaintiff JOSE SANTOS, JR. demands judgment against the
Defendants, cither jointly and/or severally, in a sum of ONE MILLION DOLLARS

($1,000,000.00), together with the costs and disbursements of this action.

OLA emp

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(516) 802-4846

ccdesq@aol.com

Dated: November 9, 2022
Syosset, New York

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Civil Action No.: 1:22-cev-9553
UNITED STATES DISTRICT COURT

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JOSE SANTOS, JR.,

 

Plaintiff,
-against-

CAMARAT ABDOULAYE, GHANA UN MISSION and
PERMANENT MISSION OF GHANA,

Defendants.

 

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“TOMPLAINT WITH JURY DEMAND
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